                                                                                  027,21*5$17('
                                                                                  &RXQVHOPD\FDOO
                             UNITED STATES DISTRICT COURT                         WREH
                             MIDDLE DISTRICT OF TENNESSEE                         FRQQHFWHGWRWKH
                                  NASHVILLE DIVISION                              FRQIHUHQFH


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )        No. 3:11-cr-00012
                                               )        JUDGE SHARP
DEMARIO WINSTON, ET AL.                        )

            MOTION FOR PERMISSION TO PARTICIPATE BY TELEPHONE

       Comes the Defendant, Demario Winston, through undersigned counsel, and hereby moves

the Court for an Order allowing his learned counsel to participate in the hearing scheduled on

September 15, 2014 at 2:30pm by telephone. In support of this Motion the Defendant would state

and show as follows:

       1.      On September 10, 2014, the Court entered an Order scheduling a pretrial

conference for Monday, September 15, 2014 at 2:30pm. (Docket Entry No. 2311).

       2.      Counsel for Mr. Winston, Jeffrey O’Toole, has a previously scheduled matter

which requires him to be in Wichita, Kansas on September 15, 2014. However, if the court would

allow; Mr. O’Toole can participate in the conference by telephone. Mr. Winston’s local counsel

Jeffery Frensley is available to participate in the conference in person.

       WHEREFORE, for all the foregoing reasons, the Defendant would respectfully request

that his learned counsel, Jeffrey O’Toole be allowed to participate in the pretrial conference in this,

matter scheduled for September 15, 2014 at 2:30pm by telephone.




Case 3:11-cr-00012        Document 2317            Filed 09/12/14    Page 1 of 1 PageID #: 11940
